                                                                                   Motion GRANTED.


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



UNITED STATES OF AMERICA                    )
                                            )          Case No. 3:10-00215
v.                                          )          Aleta A. Trauger
                                            )          U.S. District Court Judge
FELIPE GARCIA-RODRIGUEZ                     )

                           MOTION TO REQUEST REDACTION

         The defendant, Felipe Garcia-Rodriguez, through counsel, respectfully requests

redaction of certain personal information in the transcript of the Preliminary Hearing

prepared August 31, 2010 (D.E. 57). In support of this motion, Mr. Reynolds would show

the following: The “Administrative Practices and Procedures for Electronic Case Filing

(ECF)” adopted by this Court in Administrative Order No. 167 at § 5.07 requires that

certain personal information be redacted from documents that may be filed. In this case,

the following street address should be redacted from the transcript at the time of filing:

               Page 11, lines 5, 11, 15, 20, and 24;
               Page 12, line 15 and 17;
               Page 19, line 14; and
               Page 26, line 18.

                                            Respectfully submitted,

                                            /s/ Isaiah S. Gant
                                            Isaiah S. Gant (BPR #025790)
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